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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ENCHANTEDMOB, INC.,
                                                         Case No. 22-cv-02095
                  Plaintiff,
                                                         Judge Jorge L. Alonso
 v.

 WEIMANNI, et al.,                                       Magistrate Judge Beth W. Jantz

                  Defendants.


                               MOTION TO WITHDRAW AS COUNSEL

         Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, Plaintiff EnchantedMob, Inc. (“Plaintiff”), by its counsel, respectfully requests that this

Court grant Isaku M. Begert leave to withdraw his appearance as one of the attorneys of record in

this matter. In support of this motion, Plaintiff states as follows:

      1. Since April 22, 2022, Isaku M. Begert has been one of the attorneys of record for Plaintiff.

      2. Mr. Begert will be leaving the firm of Greer, Burns & Crain, Ltd., effective August 25,

         2022.

      3. Plaintiff will continue to be represented by the undersigned counsel from the firm of Greer,

         Burns & Crain, Ltd.

      WHEREFORE, Plaintiff respectfully requests that the Court grant Isaku M. Begert leave to

withdraw as one of the attorneys of record in this action.




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Dated this 23rd day of August 2022.   Respectfully submitted,

                                      / s/ Isaku M. Begert
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